       Case 18-11296          Doc 37    Filed 01/28/22 Entered 01/28/22 16:13:16                 Desc Notice
                                         Plan Complete Page 1 of 2
                                  United States Bankruptcy Court
                                           Middle District of Georgia
In re:
   Mildred Bryant Troup
   aka Mildred L. Troup, aka Mildred Louise
   Troup, aka Mildred B Troup
   56 Saint Andrews Street
   Hinesville, GA 31313−5835

Debtor(s)

Case No. 18−11296 AEC

Chapter 13

                                                      NOTICE



    You are hereby notified that a "Certification of Plan Completion and Request for Discharge"
    must be filed by you in order for your case to receive a discharge. A copy of that certification is
    attached to this notice. If you fail to file the "Certification of Plan Completion and Request for
    Discharge" with the Bankruptcy Court, your case may be closed without receiving a discharge of debts.

    Please mail the completed form to your attorney for electronic filing. If you do not have an attorney,
    mail the completed form to the following address:


                                           United States Bankruptcy Court
                                                  433 Cherry Street
                                                   P.O. Box 1957
                                                 Macon, GA 31202

    If you have already filed the Certification, you may disregard this notice.


Attachment


Dated: 1/28/22

Kyle George, Clerk of Court

United States Bankruptcy Court
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Chapter 13

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                           DEBTOR'S CERTIFICATE OF PLAN COMPLETION AND

                                           REQUEST FOR DISCHARGE




Debtor hereby certifies under penalty of perjury, the following is true and correct:

1.     All plan payments have been completed, and I am entitled to a discharge under 11 U.S.C.
       Section 1141/1228/1328; and

2.     I have paid (or do not have any liability) for domestic support obligations due on or before the date set forth
       below, including any pre−petition amounts to the extent provided for by the plan and:

3.     The provisions of 11 U.S.C. Section 522(q)(1) are not applicable to my case, pursuant to 11 U.S.C. Section
       1141(c)/1228(f)/1328(h).

4.     There are no proceedings pending against me of the kind described in 11 U.S.C. Section 522(q)(1)(A) or
       522(q)(1)(B), pursuant to Section 1141(c)/1228(f)/1328(h).

       I request that a discharge be granted in accordance with 11 U.S.C. Section 1141/1228/1328.


       ______________________                           ___________________________________________
                Date                                                  Signature of Debtor


       ______________________                           ___________________________________________
                Date                                                 Signature of Joint Debtor, if applicable



Attorney for Debtor: Ray Holland



Attorney for Debtor: Ray Holland
Address: Holland & Holland, Attorneys at Law, LLC
320 North Street
P. O. Box 824
Ashburn, GA 31714−0824
